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SO ORDERED.

SIGNED this 28th day of March, 2014.




                         UNITED STATES BANKRUPTCY COURT
                        MIDDLE DISTRICT OF NORTH CAROLINA

     IN THE MATTER OF:                )         No. B-12-81464 C-13D
     Warren K. Earles                 )
     Dedrah D. Earles                 )
           Debtor
                    ORDER GRANTING MOTION FOR APPROVAL OF
               SETTLEMENT AGREEMENT AND FOR ATTORNEY FEES

             On March 20, 2014, a hearing was held on the Debtors’ Motion for Approval of
     Settlement Agreement and Attorney Fees. The Debtors employed special counsel,
     Suzanne Begnoche, Esq. to represent them in pursuing a claim against NCO Financial
     Systems, Inc. The Debtors received a recovery of $13,625.96 and seek approval from the
     Court for the disbursement of said proceeds. At the hearing, Virginia B. Collins, Esq.
     appeared on behalf of the Debtors; Richard M. Hutson II, Standing Trustee appeared; and,
     no other party appeared or objected to the Motion. The Court, after considering the
     Motion and having heard and considered the statements of counsel and the Trustee, finds
     that the Motion should be granted; therefore, it is ORDERED

            1.     The Debtors’ Motion for Approval of Settlement Agreement and for
     Attorney Fees is granted.

            2.     Suzanne Begnoche, Esq. is awarded attorney’s fees in the amount of
     $5,900.96.

             3.      The Debtors are permitted to retain their remaining exemption in the sum
     of $5,910.00 with the net balance of the proceeds in the amount of $1,815.00 shall be
     remitted to the Chapter 13 Office for application upon priority and general unsecured
     claims in this case.

            4.      Virginia B. Collins, Esq. is allowed the presumptive attorney fee of
     $250.00 for services rendered in the filing of this Motion which shall be paid through the
     Debtor’s plan.
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                                PARTIES IN INTEREST
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